Case 2:05-cr-20278-.]EJB Document 3 Filed 07/21/05 Page 1 of 2 Page|D 9

PAUL E. PH|LL|PS, lII,

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Plaimifr, )
) Cr. No. 1 Z' cg l
vs. )
§ 05 - 2 02 7 3 3 p
)
)

Defendant.

 

ORDER

 

Upon motion of the United States, the indictment and arrest Warrant against the
above-named Defendant are hereby ordered sealed, until the initial appearance of the

defendant, in the instant case.

lT is 30 oRDEREo this a?l‘-'Zlay of July, 2005.

M

U.S. |V|AG|STRATE JUDGE

App oved

 

 

%seph`@/Murphy, Jr., AUSA

  
 

ENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
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Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

